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 6                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,
 8                                              NO. CR-05-2087-3-LRS
                       Plaintiff,               NO. CR-05-2087-5-LRS
 9
                  v.                            ORDER DISMISSING INDICTMENTS
10                                              WITHOUT PREJUDICE
      ANTONIO AVILA VERDUZCO and
11    FRANCISCO PADILLA,
12                     Defendants.
13

14        BEFORE THE COURT on March 24, 2006 is the Government’s Motion to

15 Expedite, Ct. Rec. 330, filed on March 23, 2006 in No. CR-05-2087-LRS-3,

16 and Ct. Rec. 330, filed in CR-05-2087-LRS-5; the Government’s Motion to

17 Continue, Ct. Rec. 328, filed on March 23, 2006 in CR-05-2087-LRS-3, and

18 Ct. Rec. 328, filed in CR-05-2087-LRS-5; the Government’s Motion for

19 Material Witness Warrant, Ct. Rec. 333, filed on March 23, 2006 in CR-05-

20 2087-LRS-3, and Ct. Rec. 333, filed in CR-05-2087-LRS-5.

21        Aaron Dalan appeared on behalf of Defendant Padilla, who was also

22 present at the hearing; and George Trejo appeared by telephone on behalf

23 of Defendant Verduzco who was present in the custody of the United States

24 Marshal.      The Government, represented by Shawn Anderson, argued that a

25 material witness, co-defendant Arenas, is not available for trial as his

26 whereabouts are currently unknown. The Government requested a continuance


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 1 of approximately one month.         Defendant Verduzco opposed the Government’s

 2 motion to continue, and requested that the indictments be dismissed with

 3 prejudice as it is not likely this witness will be located in the near

 4 future, if at all.          Defendant Padilla joined in the request to have the

 5 indictment dismissed with prejudice.

 6        The Court has considered the written materials and arguments of

 7 counsel and enters this order for the reasons discussed at the hearing.

 8 Accordingly,

 9        IT IS HEREBY ORDERED:

10        1. The Government’s Motions to Expedite, Ct. Rec. 330, filed on

11 March 23, 2006 in No. CR-05-2087-LRS-3,and Ct. Rec. 330, filed in CR-05-

12 2087-LRS-5 are GRANTED.

13        2.   The Government’s Motions to Continue, Ct. Rec. 328, filed on

14 March 23, 2006 in CR-05-2087-LRS-3, and Ct. Rec. 328, filed in CR-05-

15 2087-LRS-5 are DENIED.

16        3.   The Government’s Motions for Material Witness Warrant, Ct. Rec.

17 333, filed on March 23, 2006 in CR-05-2087-LRS-3, and Ct. Rec. 333, filed

18 in CR-05-2087-LRS-5, are DENIED AS MOOT, based on the Government’s

19 representation in open court that it withdraws the motions.

20        4.     The indictments filed in CR-05-2087-LRS-3 against Defendant

21 Verduzco and Defendant Padilla in CR-05-2087-LRS-5 are hereby DISMISSED

22 WITHOUT PREJUDICE.

23        5.   The trial date of March 27, 2006 is STRICKEN.

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 1        IT IS SO ORDERED.     The District Court Executive is directed to enter

 2 this order and to provide copies to all counsel, the U.S. Probation

 3 Office, the U.S. Marshal, and the Jury Administrator.

 4        DATED this 24th       day of March, 2006.

 5
                                      s/Lonny R. Suko
 6
                                       LONNY R. SUKO
 7                             United States District Judge

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